       Case 1:14-cr-00068-LGS               Document 341-2   Filed 03/28/19       Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------X
UNITED STATES OF AMERICA,                                     14 Cr. 00068-1 (KBF)

                                   Plaintiff,
                            -v-                               DECLARATION OF JAY
                                                              LEIDERMAN IN SUPPORT OF HIS
ROSS WILLIAM ULBRICHT,                                        MOTION TO BE ADMITTED TO
                                                              THIS COURT PRO HAC VIVE
                                   Defendant.
----------------------------------------------------X




I, JAY LEIDERMAN, pursuant to SDNY LOCAL RULE 1.3, hereby affirm under penalty of
perjury:
       I am an attorney licensed in the State of Califoprnia and I am seeking admission to this
Court pro hac vice in this case for the purpose of filing a habeas corpus (2255) petition in the
above-titled action.
        I have never:

       1.     been convicted of a felony,
       2.     I have never been censured, suspended, disbarred or denied admission or
readmission by any court,
       3.     I have no present disciplinary charges pending against me.

        I declare under penalty of perjury that the foregoing is true and correct to the best of my
knowledge and belief.


        Executed this 28th day of March, 2019.
                                                              /s/ Jay Leiderman

                                                              Jay Leiderman
